JS 44 (Rev. 10/20)                               CIVILDocument
                               Case 1:21-cv-11269-FDS  COVER1-1SHEET
                                                                  Filed 08/04/21 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       Estados Unidos Mexicanos                                                                         Smith & Wesson Brands, Inc., Barrett Firearms Mfg., Inc.,
                                                                                                        Beretta USA Corp., Beretta Holdings, SPA, Century Arms,
   (b) County of Residence of First Listed Plaintiff           Mexico                                   Inc., Colt's
                                                                                                        County        Mfg.ofCo.,
                                                                                                               of Residence  First LLC,   Glock, Inc.,Springfield,
                                                                                                                                   Listed Defendant     Glock GES.MBH,
                                                                                                                                                                   MA
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                           Sturm Ruger & Co.,       Inc.,
                                                                                                                             (IN U.S.    Witmer
                                                                                                                                      PLAINTIFF   Public
                                                                                                                                                CASES ONLY)Safety Group, Inc.
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
         Steve D. Shadowen, Shadowen PLLC
         1135 W. Street, Suite 125
         Austin, Texas 78703, 855-344-3298
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               3   Federal Question                                                                     PTF        DEF                                         PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                       Citizen of This State            1          1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                    of Business In This State

  2    U.S. Government            ✖ 4    Diversity                                             Citizen of Another State            2          2   Incorporated and Principal Place        5       5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                      ✖   6       6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                             TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                    PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                       310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                   315 Airplane Product                Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument             Liability                  367 Health Care/                                                                                      400 State Reapportionment
  150 Recovery of Overpayment      320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment         Slander                        Personal Injury                                                  820 Copyrights                   430 Banks and Banking
  151 Medicare Act                 330 Federal Employers’              Product Liability                                                830 Patent                       450 Commerce
  152 Recovery of Defaulted             Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
       Student Loans               340 Marine                          Injury Product                                                       New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)         345 Marine Product                  Liability                                                        840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment           Liability                 PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits        350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits          355 Motor Vehicle               371 Truth in Lending               Act                                                                485 Telephone Consumer
  190 Other Contract                   Product Liability           380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability ✖ 360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                        Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                   362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                       Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                  CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation            440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                  441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment       442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                443 Housing/                        Sentence                                                             or Defendant)                896 Arbitration
  245 Tort Product Liability           Accommodations              530 General                                                         871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property      445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                       Employment                  Other:                         462 Naturalization Application                                             Agency Decision
                                   446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                       Other                       550 Civil Rights                   Actions                                                                State Statutes
                                   448 Education                   555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                   3     Remanded from                4 Reinstated or             5 Transferred from
                                                                                                                               6 Multidistrict     8 Multidistrict
       Proceeding          State Court                          Appellate Court                Reopened                    Another District
                                                                                                                                   Litigation -      Litigation -
                                                                                                                                   Transfer
                                                                                                                           (specify)                 Direct File
                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                     17 USC 1332(a)(4)
VI. CAUSE OF ACTION Brief description of cause:
                     Unlawful gun sales practices
VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION                   DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                       JURY DEMAND:             Yes    x No

VIII. RELATED CASE(S)
                                         (See instructions):
      IF ANY                                                     JUDGE                                                                 DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
August 4, 2021                                                         /s Richard Brunell
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                       APPLYING IFP                                   JUDGE                           MAG. JUDGE
